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FILED BY _` D
lN THE UN|TED STATES DlSTRlCT COURT .C.

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* CLE?%§®YW
UN|TED STATES OF AMER|CA, * WYD Of': itt ltf-’£MPHIS
Plaintiff, *
vs. * Crimina| No. 05-20089-MI
JOEL EDWARD SCOTT, *
Defendant. *

 

ORDER GRANT|NG
UN|TED STATES' REQUEST FOR PRETR|AL PSYCH|ATR|C
EXAM|NAT|ON OF DEFENDANT PURSUANT TO T|TLE 18,
UN|TED STATES CODE, SECTIONS 4241 AND 4242

 

This cause came on to be heard this date upon Written motion of the United States,
and upon the entire record in this cause; and

IT SAT|SFACTOR|L¥ APPEAR|NG TO THE COURT:

1. On June 24, 2005, Defense Counse| orally informed the Court that he believed
it Wou|d be necessary and proper to have a mental evaluation performed on his client, the
Defendant On said date, Defense Counse| filed a paper Writing styled “|Vlotion To
Determine Competency Of Defendant Pursuant to 18 U.S.C. § 4241". |n said l\/lotion,
Defense Counse| indicated “that there is reasonable cause to believe that the Defendant

has been suffering and may be presently suffering from a mental disease or defect

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rendering him mentally incompetent to stand trial to the extent that he is unable to
understand the nature and consequences of the proceeding against him and to assist
properly in his defense."

2. Based upon the information orally presented to the Court by Defense Counse|
and the content of Defendant’s above-referenced i\/|otion, the United States, in order to
properly respond to any allegation of lack of present competency or potential defense of
insanity by the defendant, has moved the Court for an order requiring psychiatric and
psychological examinations to be conducted, regarding this defendant,

3. The United States specifically moved forthe Court to order examinations both
under Section 4241 (present mental competency) and Section 4242 (mental condition
(sane or insane) at time of commission of charged offense).

4. The United States further requested that the psychiatric examinations be
conducted at the United States l\/|edical Center for Federal Prisoners in Springfield,
|Vlissouri.

5. The above-referenced motion of the United States should be granted, for
good cause shown ;

IT lS THEREFORE ORDERED:

1. Pursuant to Title 18, United States Code, Sections 4241, 4242r and 4247,
the defendant, JOEL EDWARD SCOTT, is remanded to the custody of Attorney General,
to be transported forthwith to the United States |Vledical Center for Federa| Prisoners in
Springfie|d, l\/lissouri, and to remain at said l\/|edicai Center for a period not to exceed forty-

five (45) days.

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2. During the abovesaid period of time, psychiatric and psychological
examinations shall be conducted, regarding this defendant, and a report filed With the

Court, pursuant to the provisions of Section 4247(b) and (c).

ENTER TH|S g ZQ DAY OF U(\Q/ , 2005.

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N PHIPPS McCALLA
U l States District Judge

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Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 2:05-CR-20089 Was distributed by faX, mail, or direct printing on
June 30, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

